Case: 5:12-cr-00079-KKC-EBA         Doc #: 1201 Filed: 07/01/16           Page: 1 of 2 - Page
                                       ID#: 4791



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                 AT LEXINGTON

UNITED STATES OF AMERICA,                        CRIMINAL ACTION NO. 5:12-79-KKC
      Plaintiff,

                                                           MEMORANDUM
V.
                                                         OPINION AND ORDER

CHARLES LEE JONES,
      Defendant.



                                        *** *** ***

       This matter is before the Court on Defendant Charles Lee Jones’ motion for

assistance in filing a petition for writ of habeas corpus pursuant to the Supreme Court’s

holding in Johnson v. United States, 135 S. Ct. 2551 (2015). (DE 1198.)

       Defendant pled guilty to seven crimes related to the distribution of cocaine or

cocaine base, all in violation of 21 U.S.C. §§ 841(a), 846. (DE 1032, Judgment.) Defendant’s

guideline calculation included his designation as a career offender under U.S.S.G. § 4B1.1.

(DE 1043 at 6.) This Court also granted the Government’s motion for a downward

departure and sentenced Defendant to 168 months’ imprisonment. (DE 1032, Judgment.)

       In Johnson, the Supreme Court struck the residual clause of the Armed Career

Criminal Act (“ACCA”) for being unconstitutionally vague in violation of the Due Process

Clause of the Fifth Amendment. 135 S. Ct. at 2555-57. The now-invalidated ACCA residual

clause made any crime punishable by more than one year in prison and that “otherwise

involve[d] conduct that present[ed] a serious potential risk of physical injury to another” a

violent felony. 18 U.S.C. § 924(e)(2)(B)(ii). The Sixth Circuit recently applied Johnson to
Case: 5:12-cr-00079-KKC-EBA          Doc #: 1201 Filed: 07/01/16        Page: 2 of 2 - Page
                                        ID#: 4792



strike down an identical residual clause in the United States Sentencing Guidelines. United

States v. Pawlak, No. 15-3566, 2016 WL 2802723, at *8 (6th Cir. May 13, 2016)

       Nonetheless, Johnson does not provide a source of relief for Defendant. An adult

defendant convicted of a violent or drug-related felony may be determined to be a career

offender under § 4B1.1 in two circumstances either if (1) the defendant has two prior

controlled substance felony convictions, or if (2) the defendant has two prior violent felony

convictions. U.S.S.G. § 4B1.1(b). As discussed above, Johnson and Pawlak only addressed

the residual clause for violent felonies. In this case, Defendant’s career offender status was

based on his prior controlled substance felonies. (DE 1043 at 6.) Thus, Johnson is

inapplicable to Defendant’s case.

       Accordingly, IT IS ORDERED that Defendant’s motion for assistance in filing a

petition for writ of habeas corpus pursuant to the Supreme Court’s holding in Johnson (DE

1198) is DENIED AS MOOT.

       Dated July 1, 2016.




                                              2
